WS 44 (Rev 12/07)
                         a4-      LI9Lo CIVILDocument
                           Case'I3:19-cv-00715-WC       1-1 Filed 09/25/19
                                                  COVER SHEET
                                                                                                                                                             Page 1 of 1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provided
by local rules ofcourt. This form,approved by the Judicial Conference ofthe United States in September 1974,is required for the use ofthe Clerk ofCourt for the purpose ofinitiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OFTHE FORM.)

I.(a) PLAINTIFFS                                                                                                    DEFENDANTS
                                                                                                                                                    n-rir vi 77'1.
           ALEXA R. NEMETH                                                                                           AUBURN UNIVERSITY;uLINTON'mYERS, COREY MYERS,JAY
                                                                                                                     GOGUE,AND STEVEN LEATH
   (b)     County of Residence of First Listed Plaintiff LEE                                                        County of Res*ree qtrilkstrAted D7 enOnth
                           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    " "               PLAINTIPPCXS-E ONLY)
                                                                                                                             NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE



   (C) AttOrney's_iFinn Name,Address, and Telephone Number).                                                         Attorneys(IfIcneWn)
      John D. saxon, Esq.          JOHN D. SAXON, P.C.
      2119 3rd Avenue North        (205)324-0223
      Birmingham. Alabama 35203     isaxonOsaxonattomeys.com
II. BASIS OF JURISDICTION (Place an'X'in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an'IC in One Box for Plaintiff
                                                                                                                  (For Diversity Cases Only)                                      arid One Box for Defendant)
O I     U.S. Government                   Ig 3 Federal Question                                                                            PTF       DEF                                          PTF      DEF
           Plaintiff                             (U.S. Government Not a Party)                               Citizen of This State         O I       O I     Incorporated or Principal Place       O 4 O4
                                                                                                                                                             of Business In This State

O2      U.S. GovernMent                   O 4 Diversity                                                      Citizen ofAnother State          O 2     O 2    Incorporated and Principal Place     O 5     O 5
           Defendant                                                                                                                                            of Business In Another State
                                                    (Indicate Citizenship of Parties in Item 111)
                                                                                                             Citizen or Subject ofa           O 3     O 3    Fcireign Nation                     0 6      06
                                                                                                               Foreign Country
IV. NATURE OF MAT. Place an "X"in One Box
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                                                                                          , 74'     1        , -:FORFEITU        E ALTY,"f" I ::',"--:713ANICRUPTCY=                 2,-:..1)TIIERSTATUTESI— ,47..1
O 110 Insurance                    PERSONAL INJURY                         PERSONAL INJURY       O 610 Agriculture                       CI 422 Appeal 28 USC 158               0    400 State Reapportionment
O 120 Marine                     O 310 Airplane                          O 362 Personal Injury - 0 620 Other Food & Drug                0 423 WithdraWal                        0    410 Antitrust
0 130 Miller Act                 O 315 Airplane Product                         Med Malpractice  0 625 Drig Related SeizUre                      28 USC 157                     0    430 Banks and Banking
O 140 Negotiable Instrument           .Liability                         0 365 Pei:Spinal Injury -          of Property 21 USC 881                                              CI   450 Commerce
O 150 Recovery of Overpayment 0 320 AsSault, Libel &                           Product Liability O 630 Liquor Laws                      l'^2
                                                                                                                                           '
                                                                                                                                           ,  PROPERWRIGHTS                     O    460 Deportation
      &Enforcementofludgment            Slander                          0 368 Asbestos Personal 0 640 R.R.& Truck                       O 820 Copyrights                       O    470 Racketeer Infliienced and
O 151 Medicare Act               O 330 Federal Employers'                       Injury Product   0 650 Airtime Regs.                     O 830 Patent                                    Corrupt Organizations
O 152 Recovery ofDefaulted              Liability                               Liability        O 660 Occupational                      O 840 Trademark                        CI   480 Consumer Credit
      Student Loans              0 340 Marine                             PERSONAL PROPERTY                  Safety/Health                                                      0    490 Cable/Sat TV
      (Excl. Veterans)           d 345 Marine Product                    0 370 Other Frand       O 690 Other                                                                    CI   810 Selective Service
O 153 Recovery ofOverpayment            Liability                        0 371 Truth in Lending  ....a.:,,,,Z,'
                                                                                                       •           ,LABOR ,„. 1,
                                                                                                                %,4,            4,-4,': .:2tAgOCIAL SECURITY--                  O    850 Securities/Commodities/
      of Veteran's Benefits      0 350 Motor Vehicle                     0 380 Othei. Personal   O 710 Fair Labor Standards             0 861 HIA (1395ff)                               Exchange
O 160 Stockholders' Suits        0 355 Motor Vehicle                           Property Damage              Act                         0 862 Black Lung(923)                   0    875 Custother Challenge
O 190 Other Contract                    Product Liability                O 385 Property Damage   0 720 Lahot/Mgrnt. Relaticiits         0 863 DIWC/DIWW (405(g))                         12 USC 3410
O 195 Contract Product Liability 0 360 Other Personal                          Product Liability 0 730 Labor/Mgmt.Reporting             0 864 SS1D Title XVI                    0    890 Other Statutory Actions
O 196 Franchise                         In.i14                                                             & Disclosure Act              O 865 RSI(405(g))                      0    891 Agricultural Acts
''REALPROPERTY41.ttlf.5.',CIVIL RIGHTS, ;
k                                                                        'PRISONEWPETITEINS,0 740 Railway Labor Act                      74:7,1FEDERAIITAXSUITS                 0    892 Economic Stabilization Act
CI 210 Land Condemnation         0  441  Voting                          O 510 Motions to Vacate 0 790 Other Labor Litigation            O 870 Taxes(US.Plaintiff               0    893 Environmental Matters
O 220 Foreclostire               O 442 Erigloythent                            Sentence          O 791 Empl. Ret. Inc.                           or Defendant)                  0    894 Energy Allocation Act
O 230 Rent Lease & Ejectment 0 443 Housing/                                 Habeas Corpus:                  Security Act                0 871 IRS—Third Party                   O    895 Freedem ofInformation
O 240 Torts to Land                     Accommodations                   0 530 General                                                           26 USC 7609                             Act
O 245 Tort Product Liability     0 444 Welfare                           0 535 Death Penalty     5°:i,':U:;7,'IMMIGR:tkT               ,                                        0    900Appeal ofFee Determination
O 290 Ail Other Real ProoFay     d 445 Amer. w/Disabilities -            0 540 Mandamus & Other 0 462 Naturalization Application                                                         Under Equal Access
                                        Employment                       0 550 Civil Rights      O 463 Habeas Corpus -                                                                   to Justice
                                 0 446 Amer. w/Disabilities -            0 555 Prison Condition            Alien Detainee •                                                     O    950 Constitutionality of
                                        Other                                                    O 465 Other Immigration                                                                 State Statutes
                                 g 440 Other Civil Rights                                                  Actions



V. ORIGIN                       (Place an'‘X" in One Box Only)                                                                                                    Appeal to District
                                                                                                                     5 Transferred from                       • 7 Judge from
St 1 Original                    2 Removed from                3         Remanded from                  Cl 4 Reinstated or
                                                                                                                        another district      6 Multidistrict     Magistrate
        Proceeding                   State Court                         Appellite Court                     Reopened                             Litigation
                                                                                                                        (specify)                                 Judgment
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictionalstalutes unless diverMty):
                                                Title IX 20 U.S.C. & 1681..et.sea.. and.42.U.S.C. 6 1983
 VI. CAUSE OF ACTION                          Brief description of cause:
                                               Gender Discrimination: Retaliation
 VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                              DEMAND S                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER F.R.C.P. 23                                                                                       JURY DEMAND:                sl Yes     0 No

 VIII. RELATED CASE(S)
                                                 (See instructions)
       IF ANY                                                             JUDGE                                                                     DOCKET NUMBER

 DATE                                                                          SI r1 ATURE OF A             RNEY QF RECORD
  09/25/2019
 FOR OFFICE USE ONLY

   RECEIPT #                         AMOUNT                                      APPLYING IFP                                         JUDGE                          MAG.JUDGE
